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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                           §         CASE NO. 07-10416-KJC
                                                 §
NEW CENTURY TRS HOLDINGS, INC.,                  §         Chapter 11
ET. AL.,                                         §
                                                 §         Jointly Administered
         Debtors.                                §
                                                 § Hearing Date: August 7, 2007 at 1:30 p.m.
                                                 § Objection Deadline: July 31, 2007 at 4:00 p.m.

 NOTICE OF MOTION OF POSITIVE SOFTWARE SOLUTIONS, INC. FOR RELIEF
  FROM THE STAY REGARDING COPYRIGHT INFRINGEMENT LITIGATION

TO:      All parties on the 2002 service list.

         PLEASE TAKE NOTICE that on July 10, 2007, Positive Software Solutions, Inc. filed

the Motion of Positive Software Solutions, Inc. for Relief from the Stay Regarding

Copyright Infringement Litigation (the “Motion”) with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be made in

writing, filed with the Bankruptcy Court, 824 Market Street, 3rd Floor, Wilmington, Delaware

19801 and served upon, so as to actually be received by the undersigned counsel, on or before

July 31, 2007 at 4:00 p.m. (Eastern Time).

         PLEASE TAKE FURTHER NOTICE that if an objection to the Motion is timely filed in

accordance with the procedure enumerated above, a hearing before the Honorable Kevin J. Carey

may be held at the Bankruptcy Court, 824 Market Street, 5th Floor, Wilmington, Delaware

19801, on August 7, 2007 at 1:30 p.m. (Eastern Time).




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       PLEASE TAKE FURTHER NOTICE that if no objection or other response to the

Motion is filed, the Bankruptcy Court may grant the relief sought in the Motion without further

notice or a hearing.

Dated: July 10, 2007
       Wilmington, Delaware                           FOX ROTHSCHILD LLP



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